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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO

 ROBERTO ROCA BUIGAS, KATYA                         CIVIL NO. 3:19-cv-01044 (DRD)
 MOLERO RABASSA, AND THE
 CONJUGAL PARTNERSHIP FORMED                        BREACH OF CONTRACT, SPECIFIC
 BETWEEN THEM                                       PERFORMANCE; COLLECTION OF
                                                    MONIES; AND DAMAGES
 Plaintiffs

 v.

 LM WASTE SERVICES CORP.,
 FRANCISCO RIVERA FERNÁNDEZ

 Defendants


 MOTION REQUESTING ADJUDICATION OF “MOTION FOR RELIEF FROM
  OPINION AND ORDER OF EXECUTION AND WRITS OF ATTACHMENTS”
    (DKT.215) AND IN OPPOSITION TO CONDUCT DISCOVERY OF MR.
                     RIVERA-FERNÁNDEZ ASSETS

TO THE HONORABLE COURT:

       COMES NOW, co-defendant, Mr. Francisco Rivera Fernández, represented by the

undersigned attorney and very respectfully alleges and prays as follows:

1.     On January 1, 2023, Mr. Rivera Fernández filed a Motion (Dckt. 125) moving this

Honorable Court for relief from the Opinion and Order of Execution of Judgment, and

Writs of Attachments (Docs. 211, 212, 212-1) entered in this case. This matter is still under

advisement.

2.     In the abovementioned motion Mr. Rivera Fernández specifically stated that under

FRCP 59 (e) a party can move the Court to modify its earlier disposition because of an

erroneous legal result. Marie v. Allied Home Morty Corp., 402 F. 3d 17 (1st Cir. 2005);

Fisher v. Kadant, Inc., 589 F.3d 505 (1st Cir. 2005).
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3.     The starting point here is the Court’s prior ruling related to plaintiffs’ prejudgment

attachment efforts against defendant Rivera-Fernández was a guarantor with the right of

application (“excusión de bienes”) and that he had duly comply with his duties as such by

identifying with specificity LM Waste’s funds subject to attachment. (Doc. 156, at. p. 9).

4.     Happens to be that up to this date plaintiffs has failed to come forward evidencing

any reasonable efforts to collect against the debtor LM Waste’s assets.

5.     Put simply, plaintiffs has proven no reasonable efforts to collect against debtor LM

Waste’s assets.

6.     This is fatal to plaintiffs’ execution moves against Rivera-Fernández.

7.     Rivera Fernández’ right of application (“excusión de bienes”) as a guarantor cannot

be discarded at this stage of the proceedings.

8.     The applicable law to this matter is the Puerto Rico Civil Code of 1930.

9.     Rivera Fernández as a guarantor comes within the purview of Article 1729 of the

Puerto Rico Civil Code of 1930; 31 Laws of P.R. Anno. 4891:

       When surety required to pay creditor

       The surety cannot be compelled to pay a creditor until application has been
       previously made of all property of the debtor.

10.    Article 1729 provides the guarantor the benefit of application (“excusión de

bienes”). See, Black’s Law Dictionary, 14th Ed: “Excussio, Civil law.            A diligent

prosecution of a remedy against the principal debts before resorting to his sureties. Old

English law. Rescue or rescues.”

11.    Rivera Fernández (the guarantor here) has not renounced to the benefit of

application (“excusión de bienes”). It was affirmatively raised it.




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12.     Article 1729 clearly states that a guarantor cannot be compelled to pay a creditor

until application has been made of debtor’s assets.

13.     The creditor can summon a guarantor when he sued the main debtor, but the benefit

of excusión will always be safe, even if judgment is passed against both. Article 1733 of

the Puerto Rico Civil Code of 1930, 31 Laws of P.R. Anno 4895.

14.     Note that the guarantor’s application rights were not changed with the enactment

of the Puerto Rico Civil Code of 2020. See, Articles 1483 and 1484 of the Puerto Rico

Civil Code of 2020.

15.     For the guarantor to take advantage of the benefit of application, he must oppose it

to the creditor and point him out assets of the debtor the are located within the

Commonwealth of Puerto Rico which are sufficient to cover the amount of the debt. Article

1731 of the Puerto Rico Civil Code of 1930, 31 Laws of P.R. Anno. 4893.

16.     If the guarantor meets these conditions, “the creditor who is negligent in making a

levy upon the property of the principal designated shall be liable the extent of the value of

the insolvency of said property for the insolvency of the debtor arising from said

negligence”. Article 1732 of the Puerto Rico Civil Code of 1930, 31 Laws of P.R. Anno

4894.

17.     At the hearing held before this Court Rivera Fernández pointed to plaintiffs as to

LM Waste’s assets in the form of account receivables amounting to $9,453,695.25.

(Exhibit 17, Hearing Exhibit).

18.     Thus, Rivera Fernández has discharged his duties as a guarantor claiming the right

of excusion of assets by pointing to creditor as to debtor’s assets sufficient to cover the

debt claimed.



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19.    The Court notes that LM Wastes has failed to make collection efforts so the

plaintiffs can collect the judgment. (Doc. 211, at pages 6-8).

20.    Nevertheless, LM Waste’s alleged inaction does not deprive Rivera-Fernández’

right of application as a guarantor.

21.    The analysis as it relates to the right of application centers on plaintiffs’ own efforts

to collect against LM Waste’s assets not on LM Waste’s efforts to collect its credits.

22.    Also, the Court concluded that LM Waste’s account receivable are not realizable

assets. Nevertheless, plaintiffs had failed to advance any efforts to collect from said assets.

As a matter of fact, plaintiffs obtained a pre-judgment writ of attachment against LM

Waste’s assets contingent upon posting and adequate bond and never posted said bond less

acted against LM Waste’s assets.

23.    Rivera-Fernández duly complied with his duty to specify assets for the debtor.

Polanco v. Goffinet, 33 D.P.R. 319 (1924); Fantauzzi v. Vázquez, 22 D.P.R. 671 (1919).

In turn, plaintiffs made no efforts at collection from said assets.

24.    Whether the specified assets were seizable is contingent upon efforts to do so and

none were done here.

25.    The guarantor benefit of application exists even when judgment is rendered Article

1733 of the Puerto Rico Civil Code of 1930.

26.    Rivera Fernández cannot be deprived of his right of application.

27.    Lastly, the Court erroneously considered that LM Waste ceased to exist in

December 2018 and thus, rendering Rivera Fernández liable for corporate debts.

28.    As is relevant here, LM Waste continues as a corporate body as per Article 9.08 of

the General Law of Corporations, 14 L.P.R.A. § 3708, which provides as follows:



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         "Any corporation that is extinguished by its own limitation or that is
         otherwise dissolved, will continue as a corporate body for a period of
         three (3) years from the date of extinction or dissolution or for such
         longer period as the Court of First Instance (Superior Chamber) in the
         exercise of its discretion disposes for the purpose of pursuing the
         lawsuits filed by the corporation and continuing with the defense of the
         corporation. lawsuits brought against it, whether criminal or
         administrative, as well as for the purpose of liquidating and terminating
         the business, fulfilling its obligations and distributing the remaining
         assets to shareholders. You may not continue the legal personality for
         the purpose of continuing the business for which said corporation was
         created. With respect to any action, suit or proceeding brought or
         instituted by or against the corporation prior to its termination or within
         three (3) years of its termination or dissolution, the corporation shall
         continue as a corporate entity after a period of three (3) years and until
         any judgments, orders or decrees with respect to the shares are fully
         enforced, lawsuits or proceedings expressed above, without the need for
         any special provision to that effect by the Court of First Instance (Upper
         Chamber)."

29.    As we can see, this Article grants LM Waste the right to continue in the ongoing

proceedings to their ultimate consequences and to operate via its final dissolution.

30.    Miramar Marine et al v. Citi Walk et al, 198 D.P.R. 684 (2017) makes it clear that

Art. 9.08 is a so-called survival statute and ruled that while a corporate entity is in a

liquidation process the stock owners are not obliged to shoulder corporate debts.

       Asimismo, sería incorrecto concluir que los accionistas son los nudos
       propietarios de los bienes de la corporación luego de expirado el plazo
       dispuesto por el Art. 9.08 de la Ley de Corporaciones, supra, según alega
       Miramar Marine. Eso implicaría, como consecuencia inescapable, que las
       deudas y obligaciones también se les transferirían a los accionistas. Este
       resultado sería contrario a los preceptos de nuestro Derecho, que establece
       que las corporaciones tienen una personalidad jurídica distinta y separada
       de la de sus accionistas y las convertiría en meros DBA’s (Doing Business
       As). (Id, at p. 698)


       31.     Additionally, Plaintiffs resort to discovery for execution for judgment

purposes against Rivera under Rule 51.4 of the Puerto Rico Rules of Civil Procedure, 32

L.P.R.A. App V. is inapposite here.


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32.    Rule 51.4 of the Puerto Rico Rules of Civil Procedure, supra, states as follows:

         “El acreedor o la acreedora declarado por sentencia, o su cesionario o
         cesionaria, podrá interrogar, en auxilio de la sentencia o de su ejecución,
         a cualquier persona, incluso al deudor declarado o deudora declarada por
         sentencia, de acuerdo con lo dispuesto en estas reglas para la toma de
         deposiciones. Si la deposición se realiza mediante preguntas escritas, la
         citación para la toma de la deposición podrá disponer que no es necesaria
         la comparecencia personal del deudor de la deudora o deponente en
         virtud de la citación, siempre que con anterioridad a la fecha fijada para
         la toma de la deposición éste o ésta haga entrega al acreedor o a la
         acreedora por sentencia, o a su abogado o abogada de sus contestaciones
         juradas a las preguntas escritas que se le hayan notificado. El tribunal
         podrá dictar cualquier orden que considere justa y necesaria para la
         ejecución de una sentencia y para salvaguardar los derechos del acreedor
         o acreedora, del deudor o deudora, y de terceros en el proceso.”


33.    Said discovery is only available for execution purposes against the Judgment

debtor. In here, said discovery against Rivera Fernández is not ripe, the Judgment is quite

clear that Rivera Fernández is not a debtor but a warrantor and is entitled to the benefit of

application (“excusion de bienes”) prior to any collection efforts against him.

34.    Plaintiffs have not demonstrated to have exhausted the required application and

therefore is barred from overreaching Rivera Fernández assets in order to collect the

Judgment in this matter.

       Wherefore we hereby move the Court to issue an Order barring the discovery for

execution purposes against Rivera assets up and until Plaintiffs has made the required

showing that it has effectively exhausted any application efforts that would then give way

to access Rivera’s assets to be held to answer in this matter as warrantor.

       RESPECTFULLY SUBMITTED.




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       CERTIFICATE OF SERVICE: I hereby certify that on this same date, I

electronically filed the foregoing with the Clerk of the Court using the CM/ECF system

which will send notification of such filing to all CM/ECF participants.

        In San Juan, Puerto Rico, this 20th day of July of 2023.

                                       S:/ENRIQUE J. MENDOZA MÉNDEZ
                                       RUA Núm. 8304

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